Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 1 of 34 Page ID #:1391




   1 KAUFMAN DOLOWICH & VOLUCK LLP
     LOUIS H. CASTORIA (California Bar No. 95768)
     lcastoria@kdvlaw.com
   2 MARION V. CRUZ (California Bar No. 244223)
     mcruz@kdvlaw.com
   3 425 California Street, Suite 2100
     San Francisco, CA 94104
   4 Telephone: (415) 926-7600
     Facsimile: (415) 926-7601
   5 Attorneys for Plaintiff,
     The Thomas More Law Center
   6
   7                            UNITED STATES DISTRICT COURT

   8                            CENTRAL DISTRICT OF CALIFORNIA
                                        WESTERN DIVISION
   9

 10    THOMAS MORE LAW                               Case No. 2:15-cv-03048 R(FFMx)
       CENTER,
 11                                                  Action Filed: April 23, 2015
                   Plaintiff,
                                                     EXPERT REPORT OF DR. PAUL G.
 12          vs.                                     SCHERVISH
 13    KAMALA HARRIS, in her                         Trial Date: June 28, 2016
       Official Capacity as Attorney                 Time:        9:30 a.m.
 14    General of California,
                                                     Judge:       Hon. Manuel L. Real
 15                Defendant.                        Courtroom: 8

 16

 17

 18

 19
 20

 21

 22
 23

 24

                                                                         Case No. 2:14-cv-09448-R-FFM
                                   EXPERT REPORT OF DR. PAUL SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 2 of 34 Page ID #:1392




   1                             TABLE OF CONTENTS

   2
   3 I.     INTRODUCTION                                                                        3

   4 II. QUALIFICATIONS AND BACKGROUND                                                          6

   5 III.   RETENTION AND COMPENSATION                                                          9

   6 IV. BASES FOR OPINION AND MATERIALS COVERED                                               10
   7 V. SUMMARY OF OPINIONS                                                                   10

   8        A. Anonymity: Definition and as a Right                                            12

   9        B. Why Donors Choose Anonymity: To Avoid Harassment                                14

 10         C.    In General, Technology Exacerbates Repercussions for Individuals
                  and Their Families, and Businesses                               20
 11
            D.   Specifically, Donors to Thomas More Law Center Legitimately Fear
 12              Harassment                                                       23

 13         E.    Registry Unable to Keep Information From Public                              27
 14         F    Threatened Disclosures of Schedule B Donors Would Chill Donor
                 Behavior                                                                      30
 15
 16

 17

 18

  19
  20

  21

  22
  23

  24

                                                -2-                     Case No. 2:15-cv-03048-R-FFM
                               EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 3 of 34 Page ID #:1393




   1
        I. INTRODUCTION
   2
             1.     I have been retained by Kaufman Dolowich & Voluck, LLP on behalf of
   3
       its client, The Thomas More Law Center (the "Law Center"), to provide expert
   4
       analysis and opinion regarding whether and to what extent the Law Center and its
   5
       donors and potential donors may reasonably fear the loss of their anonymity and
   6 disclosure of their identities, including disclosure to California's Registry of

   7
       Charitable Trusts ("the Registry"), and whether and to what extent donors'
   8
       participation and support may be chilled when and if the prospect of disclosure arises.
   9
       For purposes of formulating my opinions, I have been asked to draw on my academic
  10
       background, peer-reviewed academic research, related electronic and print
  11
       documentation, and case materials.
  12
             2.     I have also been asked to review my Expert Report in the case of
  13
       Americans for Prosperity Foundation v. Kamala Harris, Case No. 2:14-cv-09448-R-
  14
       FFM, in which I appeared at trial as an expert witness on behalf of the plaintiff on
  15
       February 25, 2016, regarding the same matters. True and correct copies of my
  16
       Report, my Curriculum Vitae and list of my publications, and the materials I
  17
       considered in preparing my Report in that case, are attached hereto as Exhibits A, B
  18
       and C, respectively, and I incorporate these exhibits in this Report by this reference.
  19
       Attached hereto as Exhibits D, E, and F, respectively, are true and correct copies of
  20
       my Supplemental Report and Supplemental Materials Considered in the Americans
  21
       for Prosperity case, and my additional Materials Considered in this case.
  22
             3.     I have also been asked to review materials that are specific to this case,
  23 including the Amended Complaint of The Thomas More Law Center, the Declaration
  24

                                                    -3-                     Case No. 2:15-cv-03048-R-FFM
                                   EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 4 of 34 Page ID #:1394




   1 of Richard Thompson dated April 23, 2015, and the Supplemental Declaration of

   2 Richard Thompson dated May 6, 2015, including the exhibits to those documents.

   3         4.    I have also been asked to provide expert analysis and opinion regarding

   4 whether and to what extent the donors and potential donors to the Law Center may

   5 reasonable fear that their expression of and advocacy for their religious beliefs,

   6 expressed through their financial support of the Law Center, may be chilled by

   7 disclosure to the California Attorney General's Registry, and the loss of their
   8 anonymity in making such donations. For purposes of formulating my opinions, I
   9 have been asked to draw on my academic background, peer-reviewed academic

  10 research, related electronic and print documentation, and case materials.
  11         5.    I have reviewed the Complaint, the Preliminary Injunction briefing,

  12 relevant Orders of the Court, and additional case materials described in Exhibit F to

  13 this Report. From my review of the case materials, I understand that the Registry is
 14 requiring the Law Center to submit its unredacted Schedule B to the Registry as part

 15 of the Law Center's annual filing with the Registry. I understand that the Law Center
 16 files its unredacted Schedule B to the IRS each year, but does not file its unredacted

 17 Schedule B with California or with any other state. Although I have not seen any of

 18 the Law Center's unredacted Schedule Bs, I understand that they contain the

 19 individual names and addresses of the Law Center's major donors. More specifically,
  20 I understand that the Law Center presently uses the $5,000 threshold in listing its

  21 donors on -its Schedule B: the Law Center's Schedule B lists each of the Law
  22 Center's donors who contribute $5,000 or more to the Law Center in the previous

  23 year. I understand that the Law Center, in challenging the Registry's Schedule B

  24 submission requirement states in its filed Complaint that "The First Amendment and

                                                   -4-                     Case No. 2:15-cv-03048-R-F FM
                                  EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 5 of 34 Page ID #:1395




   1 the Internal Revenue Code protect the privacy rights of individuals who provide
   2 monetary support to charitable organizations by prohibiting public disclosure of

   3 their names and addresses. The rights to free speech, association, petition, free

   4 exercise of religion, and privacy, guaranteed by the United States and California

   5 Constitutions, are threatened, ironically, by the chief law enforcement officer of

   6 the State of California, the Attorney General of California, who now demands

   7 disclosure of Plaintiff Thomas More Law Center's list of contributors, and

   8 threatens severe and immediate punitive, regulatory, and monetary repercussions

   9 unless the Thomas More Law Center violates its own and its contributors' rights
  10 by revealing their identities to the Attorney General." (Complaint p. 2)

  11         6.    Although I am not an attorney, I understand that the Attorney General

  12 has taken the position that the First Amendment is not implicated unless donors,
  13 including potential donors, have reasonable concerns that would tend to lead them to

  14 withdraw or reduce their support, or to otherwise decline to donate, in the face of

  15 disclosure requirements. I further understand that this prospect is commonly referred

  16 to as a "chilling effect." I also understand that the Registry's commitment and ability
  17 to keep Schedule B confidential, in practice, bears upon this chilling effect. My

  18 analysis and opinions herein focus on these issues.
  19         7.    I have reviewed numerous case materials from an array of sources

  20 dealing with reprisals that demonstrate why the Law Center's donors' fears of

  21 disclosure, including fear of harassment, reprisal, and/or threats are legitimate and
  22 reasonable. My review of these materials including, but not limited to, the Thompson

  23 Declarations, indicates various threats against the Law Center, its associates, and its

  24 clients.

                                                   -5-                     Case No. 2:15-cv-03048-R-FFM
                                  EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 6 of 34 Page ID #:1396




   1         8.     I have outlined my opinions from my review of case materials in this

   2 report and am prepared to testify about them. If asked by the court, the Law Center's
   3 attorneys, or the California Attorney General's attorneys.

   4         9.     I may provide additional testimony regarding this report, or the opinions

   5 of any of the Attorney General's experts. I reserve the right to modify or supplement

   6 my opinions and their bases to account for any additional information that may

   7 emerge in this matter, including additional deposition or trial testimony or newly
   8 produced documents. As I understand it, factual discovery remains ongoing, such tha
   9 numerous documents have yet to be produced and important depositions have yet to

  10 be taken; in light of that, my reservation of rights to supplement is especially

  11 appropriate and warranted. If the Attorney General submits an expert report

  12 corresponding to this report, I reserve the right to rebut any positions taken in that
  13 report and to provide a supplemental report in light of them.
  14         10.    In connection with my anticipated testimony in this action, I may use

  15 documents produced in this case that refer or relate to the matters discussed in this
  16 report as exhibits. In addition, I reserve the right to create or help create

  17 demonstrative evidence to assist my testimony.

  18 II. QUALIFICATIONS AND BACKGROUND

  19         11.    I am Paul G Schervish, Ph.D., Professor Emeritus of Sociology and

  20 recently retired Director of Boston College's Center on Wealth and Philanthropy,

  21 which I founded and where I served as Director for over thirty years. I graduated

  22 summa cum laude from the University of Detroit; studied theology and philosophy for
  23 one year and a half at the Jesuit Bellarmine School of Theology in North Aurora,

  24 Illinois; and earned my M.A. in Sociology from Northwestern University in 1970. I

                                                    -6-                     Case No. 2:15-cv-03048-R-FFM
                                   EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 7 of 34 Page ID #:1397




   1 received my Ph.D. in Sociology from the University of Wisconsin, Madison in 1980.

   2 I also hold a Master of Divinity from the Jesuit School of Theology at Berkeley. As a
   3 member of the Society of Jesus, a Catholic religious order, from 1964 through 1981

   4 and an ordained Jesuit priest from 1975-1981, I received instruction in theology,

   5 philosophy, spirituality, and pastoral counseling during every phase of my training.

   6         12.   Over the course of my career, I have been involved in the fields of (1)

   7 philanthropy and charitable donations; (2) spirituality, theology, and pastoral care in
   8 my training and life as a Jesuit for 17 years; and (3) and research and teaching on the
   9 sociology of religion during my years at Boston College. I helped found, and until

  10 this year was a senior advisor and presenter with, the Wealth & Giving Forum, a peer-

  11 centered endeavor to deepen the philanthropic engagement of the nation's 15,000

  12 wealthiest families. I also helped found, and was a faculty member with, the Legacy
  13 Associates' Wealth Coach Network, a training forum for financial and fundraising

  14 professionals.

  15         13.   I have been widely recognized for my work in philanthropy—both my

  16 statistical findings and my philosophical and spiritual works. For example, The
  17 NonProfit Times recognized me as one of the most effective leaders in the non-profit

  18 world on its annual "Power and Influence Top 50" list five times, and inducted me

  19 into its Top 50 Hall of Fame, where my name appears alongside other leaders in the
  20 nonprofit world such as Bill Gates, Melinda Gates, and George Soros. In 2008, I

  21 received the Scott Fithian Leadership Award from the International Association of

  22 Advisors in Philanthropy, an organization that stresses the spirituality and inner

  23 meaning of finances and philanthropy. The Scott Fithian Leadership award is
  24 presented annually "to an individual with a distinguished career in service to a

                                                   -7-                     Case No. 2:15-cv-03048-R-FFM
                                  EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 8 of 34 Page ID #:1398




   1 philanthropic community." More recently, I won the American Sociological
   2 Association's Distinguished Career Award for the Section on Altruism, Morality, and

   3 Social Solidarity in 2013—a section with a special focus on the deep-seated
   4 significance of pro-social activity and philanthropy.
   5         14.    I have particular expertise regarding the overall behavior, mindset and

   6 motivations, and religious orientations of wealthy donors who donate relatively large
   7 amounts to various causes and organizations. I have published dozens of articles, and

   8 given hundreds of lectures, and presentations on the personal meanings and public
   9 practices of high-dollar donors. I directed the "Study on Wealth and Philanthropy," a

  10 three-year examination of the strategies of living and giving among 130 millionaires.
  11 With Mary A. O'Herlihy and John J. Havens, I produced the 2001 High-Tech Donors

  12 Study, in which we interviewed twenty-eight high-tech wealth holders about the "new

  13 philanthropy." I co-authored the 1999 report, Millionaires and the Millennium, which
  14 predicted the now well-known $41 trillion wealth transfer. In 1998, I published the

  15 "Bankers Trust/Deutche Bank Survey on Wealth with Responsibility," with John J.

  16 Havens. Together, we surveyed 112 wealth holders with net worth in excess of $5
  17 million regarding their charitable activities, attitudes about social issues, socially

  18 responsible investing, trust and estate planning, and the transfer of value to their heirs.

  19         15.    I have also been recognized for my academic work on anonymous

  20 giving. My article The Sound of One Hand Clapping: The Case for and Against

  21 Anonymous Giving won the 1995 Virginia A. Hodgkinson Prize "for best research
  22 paper or essay published in 1994 that provides new understanding of issues regarding

  23 philanthropy, voluntary action, nonprofit organization and management, fundraising,
  24 or civil society." I presented an earlier version of this paper at the Conference on

                                                    -8-                     Case No. 2:15-cv-03048-R-FFM
                                   EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 9 of 34 Page ID #:1399




   1 Anonymous Giving, hosted by the Center on Philanthropy in Indianapolis. I have

   2 kept abreast of the field of anonymous donations ever since. Many of my articles on
   3 philanthropy addresses the spiritual experiences and motivations that lead donors to

   4 make charitable contributions, describe the process of spiritual discernment by which

   5 donors decide in the light of spiritual experience to made charitable contributions, and

   6 explain the meaning of a moral, religious, and spiritual biography by which

   7 individuals put into motion their financial resources to care for others. My latest book

   8 (with Keith Whitaker) is Wealth and the Will of God: Discerning the Use of Riches in

   9 the Service of Ultimate Purpose. The book reviews the teachings of Aristotle, Thomas
  10 Aquinas, Ignatius Loyola, Calvin, Luther, and Jonathan Edwards on the ultimate
  11 purpose of life, the principal means to achieve that end, the meaning of wealth, and

  12 the rationale for financial care of others.

  13         16.   I have testified previously as an expert witness on reasonable wealth

  14 holder behavior in 2008, in Gilbert Hyatt v. California Franchise Tax Board. I have
  15 also testified as an expert witness regarding the chilling effect on donors who are

  16 exposed to loss of anonymity and subsequent harassment in February 2016, in

  17 American for Prosperity Foundation v. Kamala Harris in her Official Capacity as

  18 Attorney General of California.

  19         17.   My qualifications are set forth more fully in my Curriculum Vitae. My

  20 Curriculum Vitae lists every article, book, and report I have published, and all of the

  21 presentations I have given. It is attached as Exhibit A.
  22 III. RETENTION AND COMPENSATION

  23         18.    I am being compensated for my time on this case on an hourly basis at

  24 my current standard rate of $500 per hour. I am also being reimbursed for expenses

                                                   -9-                     Case No. 2:15-cv-03048-R-FFM
                                  EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 10 of 34 Page ID #:1400




   1 that I incur, including travel expenses and travel time. My compensation is not
   2 contingent upon the results of my analysis or the substance of my testimony.

   3 IV. BASES FOR OPINION AND MATERIALS COVERED

    4        19.   In addition to the materials listed in Exhibits A and B, the materials

   5 described above in this Declaration, and the testimony and evidence that I heard and
     saw during my attendance at the trial of the Americans for Prosperity Foundation
   6
     case, I have reviewed and considered the materials listed in Exhibit C in forming my
   7
     opinions in this case.
   8
     V.     SUMMARY OF OPINIONS
   9
            20. I have drawn upon my education, experience, and expertise, and formed
  10
     the following opinions from my review of the materials in Exhibit B. I focus here on
  11
     the reasonable justifications the Law Center's donors have for wanting to remain
  12
     anonymous to the public as well as the Registry—and the reasonable fears and
  13
     chilling effect they will predictably face if disclosure of any of their identities may
  14
     nonetheless be required pursuant to the Attorney General's demands. My research
  15
     confirms that the interests and fears of the Law Center's donors are typical and
  16
     widespread among donors in general who wish to give anonymously. This
  17
     phenomenon extends across everyday interactions and surges even higher in contexts
  18
     that are socially and/or politically charged. Moreover, although this phenomenon is
  19
     longstanding as has been evident for the decades I have been studying it, it has only
  20
     grown in recent years, as our society and polity become more polarized, as divergent
  21
     factions become more insular, desensitized, and acrimonious, and as the Internet
  22
     becomes an instrument for disseminating information and coordinating targeted
  23 campaigns nationwide, and, indeed globally.
  24

                                                  -10-                     Case No. 2:15-cv-03048-R-FFM
                                  EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 11 of 34 Page ID #:1401




   1        21.    The following summarizes my key arguments and conclusions as to the

   2 Law Center and its donors:
   3        A. Anonymous Giving and Donor Bill of Rights

   4          Anonymous giving is a social relationship between the donor and other

   5          parties in which the name of the donor is restricted to the public; assuring

   6          donors' confidentiality is included in the donor bill of rights.

   7        B. Anonymity Linked to Fear of Negative Repercussions

   8          Donors seek to be anonymous for many reasons, but mainly revolving around

   9          kinds of problems, strife, and harassment that can arise when gifts that are

  10          intended to remain anonymous are made publicly known, especially in

  11          today's caustic political, social, and religious environment. .

  12        C. In General, Technology Exacerbates Repercussions for Individuals and

  13        Their Families, and Businesses

  14          Today donors are especially vulnerable to losing their anonymity because of

  15          the increased technology of hacking, use of the Internet, and prominence of

  16          electronic and social media. Political activists, headline-seeking media, and

  17          the cutting-edge industry of for-profit and in-house prospect research

  18          organizations and software variously seek to track down, benefit from, and

  19          carry out harassment based on information about the backgrounds, personal

  20          predilections, and societal pursuits of donors.

  21        D. For Donors to Thomas More Law Center

  22          Because their contributions occur in today's acrimonious environment,

  23          Schedule B, non-Schedule B, and potential donors to the Law Center have a

  24          reasonable and legitimate fear that their loss of anonymity will result in one of

                                                  -11-                     Case No. 2:15-cv-03048-R-FFM
                                  EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 12 of 34 Page ID #:1402




   1            more of forms of harassment, reprisals, and threats.

   2          E. Registry Unable to Retain Privacy

   3            The Registry of Charitable Trusts under the California Attorney General—who

   4            was elected to office and is currently running for the U.S. Senate—contributes

   5            to this loss of anonymity and ensuing harassment by failing in practice and by

   6            law to keep the Schedule Bs of many charities private.

    7         F. Chilling Effect Impedes Freedom of Association and Free Expression of

   8          Religion

   9            Such disclosure impedes the Constitutional rights of donors and potential

  10            donors to freely participate in the Foundation, producing a reasonable chilling

  11            effect on the right to freedom of association and free expression of religion by

  12            leading donors to refuse, withdraw, or reduce their support.

  13          A. Anonymity: Definition and as a Right

  14          22.    The academic literature defines "[a]nonymous giving" as "a social

  15 relation in which knowledge about the identity of the donor is restricted."' Donors

  16 are rarely totally anonymous.2 Thus, anonymous donors are donors whose identities
  17 are concealed from the recipient, from the public, or from other third parties.3

  18 Anonymous donors are usually individuals, but corporations, foundations, and
  19 associations may also request anonymity.4
  20

  21       ' Paul G. Schervish, The Sound of One Hand Clapping: The Case for and Against Anonymous
        Giving, VOLUNTAS: INT'L J. VOLUNTARY & NONPROFIT ORGS., Feb. 1994, at 1, 23.
  22       2 Id. at 2.
           3 Id. at 23.
  23       4 ELEANOR T. CIRERCHI & AMY WESKERNA, SURVEY ON ANONYMOUS GIVING 17 (1991);
        Schervish, supra note 1, at 2.
  24

                                                    -12-                     Case No. 2:15-cv-03048-R-FFM
                                    EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 13 of 34 Page ID #:1403




   1          23.    Anonymous donations include confidential donations. Philanthropic

   2 gifts may have different "identifiable realms of anonymity depending on which

   3 groups are kept in the dark about the source of a gift."5 A donor's interest in

    4 anonymity or confidentiality is not a binary choice between complete anonymity or

   5 complete publicity—rather, the academic literature recognizes degrees of anonymity

   6 between these two extremes.6 In their seminal study on anonymous giving, Eleanor

    7 T. Cirerchi and Amy Weskerna identified five degrees anonymity, ranging from one

   8 of total anonymity to one where the donor's identity is fairly widely assumed but not

   9 publicly acicnowledged.7
  10          24.    In fact, purely anonymous giving is rare and, practically speaking,

  11 difficult. People within a donor's favored charitable area, industry, or peer group may

  12 know generally to whom or to what the donor gives, but that does not mean that the
  13 state knows, or that the information is publicly available.8 For example, a donor may

  14 lend his name to a private fundraising dinner with 400 like-minded individuals, but

  15 might not want his name publicized in the Los Angeles Times or disclosed to the
  16 State of California.9 Thus, donor anonymity encompasses donors whose identities are

  17 known within the recipient organization, but whose identities are kept confidential

  18 from third parties.1°

  19
  20      5 Schervish, supra note 1, at 23.
          6 CIRERCHI & WESKERNA, supra note 4, at 15.
  21      7 Id
          8 Schervish, supra note 1, at 23.
  22      9 See Sam Kean, Donors Increasingly Make Their Big Gifts Anonymously, Chronicle Analysis
       Finds, CHRON. PHILANTHROPY (Jan. 9, 2008), https://philanthropy.comiarticle/Donors-Increasingly-
  23   Make-Their/163267.
          1° Schervish, supra note 1, at 23.
  24

                                                     -13-                     Case No. 2:15-cv-03048-R-FFM
                                     EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 14 of 34 Page ID #:1404




    1          25.    This concept of anonymity is widely and increasingly recognized in

    2 philanthropy today. The Association of Fundraising Professionals' donor bill of

    3 rights recognizes a donor's right to the confidentiality of his donation," and donor

    4 solicitation forms commonly, if not by default, allow a donor to check a box to make

    5 an anonymous donation.12 The trend has been for large million-dollar plus donors to

    6 increasingly avail themselves of this well-established and increasingly-cherished

    7 right.1 3 For example, between June 2008 and April 2009, nearly nineteen percent of
    8 the 422 total $1 million-plus gifts were made anonymously, which was up from 3 to 5
    9 percent during the preceding decade."

  10           B. Why Donors Choose Anonymity: To Avoid Harassment

  11           26.    In my award winning, peer-reviewed academic research, I interviewed

  12 130 millionaires and identified multiple reasons why donors choose to give

  13 anonymously.15 Those same and additional reasons are identified in other sources.
  14           27.    Historically, wealthy donors most commonly gave anonymously to

  15 minimize solicitations from other organizations.16 Once a donor's large gift becomes

  16 known publicly, that donor risks becoming a "mark" for every fundraiser in town."
  17
           11 ASSN   OF FUNDRAISING PROF'LS ET AL., A DONOR BILL OF RIGHTS (2015), available at
  18
        http://www.afpnet.org/files/ContentDocuments/DonorBillofRights.pdf.
            12 See, e.g., Donate Now, SALVATION ARMY,
  19
        https://donate.salvationarmyusa.org/southernnewengland/page.aspx?pid=509 (last accessed Nov. 18
        2015.).
  20        1j See Kean, supra note 9.
            14 Ben Gose, Anonymous Giving Gains in Popularity as the Recession Deepens, CHRON.
  21    PHILANTHROPY (Apr. 30, 2009), https://philanthropy.com/article/Anonymous-Giving-Gains-
        in/162627.
  22        15 Schervish, supra note 1, at 1.
            16 CIRERCHI & WESKERNA, supra note 4, at 18; Schervish, supra note 1, at 2.
  23        17 Mark Oppenheimer, In Big-Dollar Philanthropy, (Your Name Here) vs. Anonymity, N.Y.
        TIMES (May 10, 2013), http://www.nytimes.com/2013/05/11/us/in-philanthropy-your-name-here-vs-
  24        (footnote continued)

                                                      -14-                     Case No. 2:15-cv-03048-R-FFM
                                      EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 15 of 34 Page ID #:1405




   1 As early as 1913, the New York Times observed that philanthropists give

    2 anonymously "to save themselves from the deluge of appeals from societies and
    3 individuals that descends upon any donor nowadays whose benefactions become a

    4 matter of public record."18 Anonymity, therefore, serves to shield donors and their

    5 families from unwelcome and incessant additional requests.19

    6          28.    Academic studies and other sources have identified additional reasons

    7 donors give anonymously. For example, a donor might not want family members or
    8 heirs to know the level of the donor's wealth.2° Or the donor may be motivated to

    9 give from a deeply felt sense of privacy, humility, or modesty.21 Still other wealthy
  10 donors have expressed concern for theirs and their family's safety, if the extent of
  11 their wealth becomes known.22 The list goes on;23 each reason provides donors with

  12 an additional incentive for confidentiality.

  13           29.    More recently, fear of repercussion has become a prominent and

  14 powerful motivation for donors to give anonymously. Donors are judged for how

  15 they spend their money—philanthropists have faced public criticism for giving to art
  16 museums instead of to starving children.24 Contemporary philosophers, such as Peter

  17

  18
        anonymous-gi ving.html.
            ig Anonymous Philanthropy is Greatly Increasing, N.Y. TIMES, Nov. 23, 1913, at 12; see also
  19
        Ursula Vils, Anonymous Giving: Acts of Charity That Have No Name, L.A. TIMES (Dec. 25, 1985),
        http://articles.latimes.com/print/1985-12-25/news/vw-21250_1_anonymous-giving.
  20        19 Schervish, supra note 1, at 6.
            20 ri
                CIRERCHI & WESKERNA, supra note 4, at 20; see also Schervish, supra note 1, at 4-5.
  21        21
               Schervish, supra note 1, at 2, 8.
            22
                CIRERCHI & WESKERNA, supra note 4, at 25-26; Kean, supra note 9.
  22        23
               See, e.g., Schervish, supra note 1, at 8-12.
            24
                See Noel King, What's Wrong with Giving Money Away? Even Generosity Has Critics,
  23    MARKETPLACE (Dec. 10, 2013), http://www.marketplace.org/topics/wealth-poverty/lot-give/whats-
        wrong-giving-money-away-even-generosity-has-critics.
  24

                                                      -15-                     Case No. 2:15-cv-03048-R-FFM
                                      EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 16 of 34 Page ID #:1406




   1 Singer, have criticized philanthropists for supporting pet causes instead of
   2 maximizing world utility.25 Thus, wealthy donors risk criticism for their gifts, even

   3 gifts that are relatively non-controversial.

   4           30.   Donors may request anonymity to avoid association with a controversial

    5 cause or organization in their communities.26 For example, when AIDs causes were

   6 controversial in the early 1990s, donations to those causes were "often done

    7 anonymously to protect [donor] identity."27

   8           31.   More recent examples demonstrate the vexing stage on which

   9 controversial advocacy, including and especially religious advocacy, is being played
  10 out. Donors to the Thomas More Law Center legitimately fear harassment as a
  11 religiously oriented legal-assistance organization that takes up controversial cases in

  12 defense of freedom of religious expression and freedom of association in general. Its

  13 opponents seek to locate, track, list, criticize, and orchestrate resistance to those who

  14 create and support organizations and activities deemed to be ideologically dangerous
  15 and socially threatening. Today, associating with radical, fringe, or even mainstream

  16 causes can and does damage donors personally and professionally, particularly within
  17 important, distinct circles. Some donors might reasonably fear that disclosure of their

  18

  19
          25   Oliver Milman, Peter Singer: I Want to Shame Charities into Proving the Worth of Their
       Spending, GUARDIAN (Mar. 26, 2015), http://www.theguardian.com/society/2015/mar/27/peter-
  20   singer-charities-effective-altruism; Peter Singer, Op-Ed., Good Charity, Bad Charity, N.Y . TIMES
       (Aug. 10, 2013), http://www.nytimes.com/2013/08/11/opinion/sunday/good-charity-bad-
  21   charity.html; Peter Singer, The Singer Solution to World Poverty, N.Y. TIMES MAG. (Sep. 5, 1999),
       http://www.nytimes.com/1999/09/05/magazine/the-singer-solution-to-world-poverty.html;
  22   Alexandra Wolfe, Peter Singer on the Ethics of Philanthropy, WALL ST. J. (Apr. 3, 2015),
       http://www.wsj.com/articles/peter-singer-on-the-ethics-of-philanthropy-1428083293.
  23       26 CIRERCH1 & WESKERNA, supra note 4, at 25.
           27 Id
  24

                                                      -16-                     Case No. 2:15-cv-03048-R-FFM
                                      EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 17 of 34 Page ID #:1407




   1 gifts to the government will open them up to persecution by their state or local

   2 government, or an audit by the IRS.28 For instance, a comprehensive report by the
   3 ACLU explicitly documented the chilling effect of government surveillance on

   4 attendance and donations to mosques across the U.S. after 9/11: "The ACLU found

   5 that the perceived use of informants to infiltrate mosques has had a chilling effect of

   6 congregants' rights to association, speech, and religion. Some reported limiting their

    7 attendance at congregational prayer in mosques and limiting their charitable giving,

   8 for fear that an informant was reporting their presence at the mosque or their
   9 individual donations made during charitable fundraisers at the mosque."29

  10          32.    Many donors have been forced by political or ideological enemies to

  11 suffer for their generosity. For example, donors to the successful Proposition 8

  12 campaign faced threats, boycotts, harassment, and vandalism after their names and

  13 addresses were posted on the Internet.30 One supporter found a flier in his
  14 neighborhood that called him a bigot and listed his employer, another donor lost his

  15 job after his donation was revealed,31 and the Mormon Church received envelopes of

  16 suspicious white powder at its Salt Lake City headquarters following its support of th
              32
  17 measure. Such controversial donations do not quickly become old news: Mozilla
  18
           28 E.g., Stephanie Strom, I.R.S. Drops Audits of Political Donors, N.Y. TIMES (Jul. 7, 2011),
  19
       http://www.nytimes.com/20 11/07/08/business/irs-drops-audits-of-donors-to-political-groups.html.
           29 AM. CIVIL LIBERTIES UNION, BLOCKING FAITH, FREEZING CHARITY: CHILLING MUSLIM
  20   CHARITABLE GIVING IN THE "WAR ON TERRORISM FINANCING" 77 (2009), available at
       https://www.aclu.org/files/pdfs/humanrights/blockingfaith.pdf.
  21       30 Thomas M. Messner, The Price of Prop 8, BACKGROUNDER 1 (Heritage Found., Washington
       D.C.), Oct. 2009, available at http://www.heritage.org/research/reports/2009/10/the-price-of-prop-8
  22   Jesse McKinley, Marriage Ban Donors Feel Exposed by List, N.Y. TIMES (Jan. 18, 2009),
       http://www.n ytimes.com/2009/01/19/us/19prop8.html.
  23       31 McKinley, supra note 30.
           32 California Proposition 8: Post Election Events, FAIRMORMON,
  24       (footnote continued)

                                                       -17-                    Case No. 2:15-cv-03048-R-FFM
                                      EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 18 of 34 Page ID #:1408




   1 co-founder Brendan Eich was forced to resign as CEO in 2014, following social

   2 media attacks and a revolt among Mozilla staffers over his $1,000 contribution to
   3 support the ballot measure six years earlier.33

   4         33.     In today's politicized climate, businesses, individuals, and foundations

   5 are punished for their associations. Chick-fil-A donated from a religious motivation

   6 to family values organizations, but dramatically cut its support of groups considered

   7 to be anti-gay, after suffering a backlash for its CEO's comments.34 And, Hobby
   8 Lobby was threatened with a boycott following its successful Supreme Court case in

   9 which it argued for accommodation for religious organizations and for private
  10 businesses headed by religiously oriented owners in regard to Health and Human
  11 Services regulations requiring health plans to include contraceptive coverage.35

  12         34.     Such phenomena run across the political spectrum. For example,

  13 McDonald's suffered a five month long boycott until one of its executives resigned
  14 from the board of the National Gay and Lesbian Chamber of Commerce in 2008.36

  15

  16
       http://en.fairmormon.org/Mormonism_and_politics/California_Proposition_8/Post-Election_Events
  17   (last accessed Oct. 23, 2015).
            33
                William Saletan, Purge the Bigots, SLATE (Apr. 4, 2014),
       http://www.slate.comiarticles/news_and_politics/frame_game/2014/04/brendan_eich_quits_mozilla
  18
         let s_purge_all_the_antigay_donors_to_prop_8.html.
            T Leon Stafford. Cathy Seeks to Put Gay Marriage Flap Behind Chick-fil-A, mYAJC (Mar. 14,
  19
       2014, 12:27 PM), http://www.myajc.com/news/business/cathy-seeks-to-put-gay-marriage-flap-
       behind-chick-/nfCHj/.
  20        35
                Harry Bradford, Hobby Lobby Lawsuit Over Obamacare Morning After Pill Mandate Sparks.
       Backlash, HUFFINGTON POST (Sep. 21, 2012, 4:39 PM),
  21   http://www.huffingtonpo                      /hobby-lobby-obamacare-lawsuit-morning-after-
       pill 1903472.html.
  22       -3-6
                 Mike Hughlett, American Family Association Ends McDonald's Boycott After Executive
       Resigns from Gay Business Group, CHI. TRIB. (OCt. 10, 2008),
  23   http://articles.chicagotribune.com/2008-10-10/news/0810090433_1 Jesbian-chamber-boycott-
       national-gay.
  24

                                                    -18-                     Case No. 2:15-cv-03048-R-FFM
                                    EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 19 of 34 Page ID #:1409




   1 Planned Parenthood's corporate donors faced similar boycotts from conservative
   2 groups in 1990,37 and took down its corporate donor webpage earlier this year, after

   3 several corporations asked to be removed from the organization's donor list.38

   4 NARAL's supporters, a pro-choice advocacy organization, are often threatened and

   5 harassed — even in New York. In fact one individual who threatened the organization

   6 was convicted for having plotted to bomb an abortion clinic.39 And, the Clinton
   7 Foundation has been criticized for accepting large donations from corporations,

   8 foreign individuals, and governments such as Saudi Arabia, Kuwait, Australia, and

   9 Norway:1° Increasingly, disclosure of a supporter's affiliation with a controversial
  10 cause or a cause's affiliation with a controversial donor brings damaging
  11 repercussions.

  12          35.    As our politics and discourse have become more divisive and internecine

  13 in recent years, the threats to those associated with a potentially controversial cause

  14 have become more pronounced, as have the reasonable concerns of those who fear
  15 their association with any given cause may become known.
  16          36.    Notably, what is uncontroversial in one particular region or community

  17

  18
           37 Tamar Lewin, Anti-Abortion Group Urges Boycott of Planned Parenthood Donors, N.Y.
       TIMES (Aug. 8, 1990), http://www.nytimes.com/1990/08/08/us/anti-abortion-group-urges-boycott-
  19
       of-planned-parenthood-donors.html.
           38 Melissa Clyne, Planned Parenthood Removes Corporate Donor Page from Website,
  20   NEWMAX (July 24, 2015, 1:56 PM), http://www.newsmax.com/Newsfront/Planned-Parenthood-
       corporate-donors-web si te/2015/07/24/i d/658777/.
  21       39 E.g., Thomas Kaplan, Nonprofits Are Balking at Law on Disclosing Political Donors, N.Y.
       TIMES (Aug. 20, 2013), http://www.nytimes.com/2013/08/21/nyregion/citing-safety-nonpro fits-
  22   balk-at-law-on-disclosing-donors.html.
           40 Kevin Sack & Sheri Fink, Rwanda Aid Shows Reach and Limits of Clinton Foundation, N.Y.
  23   TIMES (Oct. 18, 2015), http://www.nytimes.corn/2015/10/19/us/politics/rwanda-bill-hillary-clinton-
       foundation.html.
  24

                                                      -19-                     Case No. 2:15-cv-03048-R-FFM
                                      EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 20 of 34 Page ID #:1410




   1 may be controversial in another.41 All it takes is one or a few ideological opponents
   2 to inflict serious damage—as we've seen above—on a donor's relationships with

   3 employers, clients, and neighbors.42

   4            C. In General, Technology Exacerbates Repercussions for Individuals
                   and Their Families, and Businesses
   5
                37.    This donor desire for anonymity is increasingly challenged by growth in
   6
        personal information and accessibility to that information on the Internet. The already
    7
        formidable ability of prospect research companies and in-house prospect researchers
   8
        at charities to obtain information on donors and potential donors advances with every
   9
        iteration of Internet data mining, storage and search capabilities. For instance, APRA
  10
        (Association of Professional Researchers for Advancement) defines "Prospect
  11
        Development" as "the strategic arm of an organization's fundraising operation,
  12
        focusing on prospect pools and pipelines. Prospect Development professionals
  13
        collaborate with gift officers and development leaders to ensure fundraising efforts
  14
        are focused on working with the right donors for the right gifts at the right time (and
  15
        in many cases, with the right initiatives)."43 Its first goal is "discovering and
  16
        evaluating prospective donors, and their interests, relationships, inclination to give
  17

  18
           41   Steven J. Tepper, The Social Nature of Offense and Public Protest over Art and Culture,
        GIA READER, Fall 2012, available at http://www.giarts.org/article/social-nature-offense-and-public-
  19
        protest-over-art-and-culture ("Cities exhibit different profiles of contention based, in part, on the
        demographic, institutional, and political make-up of the city."); see also Michael Dobbs, Footloose
  20    or Dancing-Free?, WASH. POST (May 17, 1987),
        https://www.washingtonpost.com/archive/lifestyle/1987/05/17/footloose-or-dancing-free/ed9486e0-
  21    5a41-41d9-9836-laac557a9a57/ (describing the public dancing ban in Anson, Texas).
            42 Deborah G. Johnson, Priscilla M. Regan & Kent Wayland, Campaign Disclosure, Privacy
  22    and Transparency, 19 WM. & MARY BILL RTS. J. 959, 972 (2011) (detailing harassment of
        Proposition 8 donors in their local communities).
  23        43 A Brief Description of the Prospect Development Profession, ASS'N PROF'L RESEARCHERS
        FOR ADVANCEMENT (May 16, 2014). http://www.aprahome.org/p/cm/ld/fid=37.
  24

                                                        -20-                     Case No. 2:15-cv-03048-R-FFM
                                        EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 21 of 34 Page ID #:1411




   1 and philanthropic capacity to inform and support an organization's fundraising
   2 strategies and outreach efforts."'" It explains how "advances in information

   3 management technology, data storage, trends in information availability, and

    4 increased need for data-driven decision making" have improved the success of

    5 prospect research.45

   6           38.   The Internet has exacerbated the danger of disclosure. Anyone can targe

    7 and investigate specific persons or donors.46 Organization and technology are now

   8 such that the leak of a donor's name can travel at the click of a button, and make that

   9 person a target around the country, and, indeed, around the world. American Bridge,
  10 a Democratic group devoted to uncovering politically damaging information about
  11 Republicans, has ten employees dedicated to digging up dirt on the Koch brothers,
                                                   47
  12 which it disseminates to other liberal groups. And these dangers are by no means

  13 confined to the Kochs: For-profit prospect research firms and charities now track
  14 every major gift in the country, to provide information to other institutions about the

  15 financial wherewithal of prospective or current donors.48
  16

  17      44
               Id.
           45 Id.
  18
           46 Kean, supra note 9 ("Officials [who know donor identities] guard details, of course, because
       the Internet makes it far easier than before to tease out people's identities from scraps of
  19
       information.").
           47 Fredreka Schouten, Charles Has No Plans to Back a Candidate in Republican Primary,
  20   USA TODAY (Nov. 11, 2015),
       http ://www.usatoday.com/story/news/politics/elections/2015/11/11/charles-koch-not-backing-
  21   candidate-republican-primary/75576772/.
           48 Preeti Gill, Don't Be Alarmed, I'm a Prospect Researcher, FUNDCHAT (Nov. 20, 2013),
  22   http://www.fundchat.org/2013/11/20/dont-be-alarmed-im-a-prospect-researcher; Margaret King,
       Prospect Research: What You Don't Know—and How It Can Hurt You, NoNPRoFITPRO (Aug. 1,
  23   2007), http://www.nonprofitpro.com/article/research-prospective-major-donors-before-you-meet-
       with-them-71419/a11/.
  24

                                                       -21-                    Case No. 2:15-cv-03048-R-FFM
                                      EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 22 of 34 Page ID #:1412




   1           39.    Once donor information is posted on a public website, it can be "copied,

   2 mined, and reposted endlessly," on unexpected places with unexpected results.49
   3 Once that exposure happens, there is no un-ringing the bell—once a donor's

   4 information enters the public domain, it will remain public for all time.5° Regardless

   5 of best efforts (indeed, Herculean efforts), information that has found its way into the

   6 public and media domain, particularly via the Internet, cannot be satisfyingly purged:

   7 In today's society, it is impossible to erase memories, censor news stories, or retrieve
   8 countless downloads. As such, donors who lose the protective cloak of anonymity

   9 and its associated advantages (as described above) can never regain it. The only way
  10 for them to protect their anonymity is to resist disclosure of their identities in the first

  11 instance, at least in the absence of maximum necessity and precautions.

  12           40.    These trends are all converging and moving in a direction where

  13 reasonable donors have more and more reason to be fearful of exposure. It is

  14 unsurprising that gifts over $1 million dollars are increasingly made anonymously,51
  15 despite charities' frequent and earnest desire to have names attached to gifts to

  16 encourage additional donations by the donor's peers.52 Nonprofit leaders do not like

  17 to leak anonymous donors' names, because donor confidentiality is viewed as an
  18 ethical obligation.53 Thus, the importance of maintaining anonymity from the

  19
  20
          49 Johnson, Regan & Wayland, supra note 12, at 971.
          5° See id. at 972 ("[T]he donor's loss of control of personal data is now 'the price one pays' for
  21   making a donation.").
          51 Gose, supra note 14.
  22      52 CIRERCHI & WESKERNA, supra note 4, at 30; Schervish, supra note 1, at 14-15;
       Oppenheimer, supra note 17; Vils, supra note 18.
  23      53 See, e.g., ASS'N OF FUNDRAISING PROF'LS ET AL., A DONOR BILL OF RIGHTS, supra note 11;
       Kean, supra note 9.
  24

                                                       -22-                      Case No. 2:15-cv-03048-R-FFM
                                       EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 23 of 34 Page ID #:1413




    1 perspective of reasonable charities and their donors is high and only rising.

    2        D. Specifically, Donors to Thomas More Law Center Legitimately Fear
                Harasssment
    3

    4        41.    I have opined in previous sections that donors and activists in general are
    5 increasingly being harassed for taking controversial positions and that this harassment

    6 is exacerbated and more widely disseminated by increasingly sophisticated software,

    7 the Internet, and electronic media—all of which more effectively, and for readership,

    8 financial and/or political advantage, seek out and make use of the identities of wealth
    9 holders who are relevant for their purposes. According to the declaration of Richard

  10 Thompson the purposes, methods, and reprisals of such discovery, communication,
  11 and application of knowledge about controversial donors specifically applies to those

  12 for whom the Law Center advocates.
  13         42.    I quote the following instances of reprisals directly from Thompson's
  14 Declaration.

  15                                            [Begin quotation]
  16                [R]eprisals are not hypothetical threats. Individuals and
  17                organizations who the Law Center has supported have already been
  18                targeted by violent protesters:
  19                a) Pamela Geller, Executive Director, Robert Spencer, Associate
  20                   Director and American Freedom Defense Initiative's
  21                   ("AFDI") have very recently been in the national news for
  22                   having been targeted for death by ISIS-affiliated terrorists who
  23                   attempted to assassinate them during an event in Texas, but
  24                   were thwarted by law enforcement. Pamela Geller, Robert
                                                   -23-                     Case No. 2:15-cv-03048-R-FFM
                                   EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 24 of 34 Page ID #:1414




   1                 Spencer, and AFDI are represented by the Law Center in a

    2                case filed in the U.S. District in the national news for having

    3                been targeted for death by ISIS-affiliated terrorists who

    4                attempted to assassinate them during an event in Texas, but

    5                were thwarted by law enforcement. Pamela Geller, Robert

    6                Spencer and AFDI are represented by the Law Center in a case

    7                filed in the U.S. District Court for the Eastern District of

   8                 Michigan, arising from their efforts to run anti-jihad

    9                advertisements on public buses in three Michigan counties.

  10                 Although the bus authority had allowed other advertisements

  11                 with a religious or anti-religious message, it disallowed

  12                 AFDI's proposed bus advertisements, offering help for those

  13                 in fear for their lives for attempting to convert from Islam.

  14                 Pamela Geller, Robert Spencer and AFDI were also

  15                 represented by the Law Center in a case filed in the United

  16                 States District Court of New York, arising from their efforts to

  17                 run advertisements on Metropolitan Transpiration Authority

  18                 ("MTA") buses and subways in New York. MTA had

  19                 previously allowed other advertisements with religious or anti-

  20                 religious messages. ISIS has indicated it is targeting anyone

  21                 associated with Pamela Geller and has soldiers ready to attack

  22                 in different states, specifically identifying California as one of

  23                 the five states where ISIS has trained militants and is ready to

  24                 attack. Attached as Exhibit J is the May 6,2015 front page of

                                                -24-                     Case No. 2:15-cv-03048-R-FFM
                                EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 25 of 34 Page ID #:1415




   1                 the Drudge Report, with a photo of Pamela Geller and a link

   2                 titled, "ISIS vows to kill Pam..." The section referring to her

   3                 and to related stories about the ISIS threats are highlighted on

    4                this printout. Attached as Exhibit K is a May 5, 2015 article

    5                from the NY Daily News, titled "ISIS threatens controversial

   6                 blogger Pamela Geller in message boasting of '71 trained

    7                soldiers in 15 different states.'"

   8             b) I am informed and believe that Michael Potter, founder of

   9                Eden Foods, another of the Law Center's clients, has received

  10                over 3,337 disparaging emails as a result of challenging, with

  11                the Law Center's help, the Health and Human Services

  12                Department's mandate that employers provide coverage for

  13                contraception services. As a result of this publicity, his

  14                business has been negatively affected.

  15             c) The Law Center itself has been identified and discussed in the

  16                Southern Poverty Law Center's "Hatewatch" blog. The Law

  17                Center's donors could face public and private detriments as

  18                well as social ostracism for being affiliated with a "hate group"

  19                if their identities became public. It could affect their

  20                employability, security clearances, and other privileges, all

  21                because an advocacy group with an opposing viewpoint has

  22                applied this pejorative term to the Law Center. Attached as

  23                Exhibit L are several blog postings about or referencing the

  24                Law Center, taken from the Southern Poverty Law Center's

                                                -25-                     Case No. 2:15-cv-03048-R-F M
                                EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 26 of 34 Page ID #:1416




   1                "Hatewatch" blog.

   2             d) The Law Center bas received many hateful emails over the

   3                years, each time it participates in a public debate or civil right

    4               lawsuit. With the dominance of social media as a means of

   5                communication, the Law Center receives derision and hateful

   6                obloquy, including vulgarities, from persons with opposing

    7               views-often anonymously. Exposing our donors' identities

   8                would expose them to the same type of vicious, online

   9                bullying.

  10             e) I am informed by the Law Center's staff that emails that use

  11                vulgarities of hateful terms have been routinely deleted from

  12                our system. We never expected to need them to oppose an

  13                effort by any state's government to force the disclosure of our

  14                donor list. I am in the process of determining if those emails

  15                can be retrieved from any electronic storage system that the

  16                Law Center uses, but I do not have that data available to me in

  17                time to include it in this Declaration.

  18             f) Erin Mersino (formerly unmarried with the name "Erin

  19                Chau"), an attorney at the Law Center, was specifically

  20                targeted. An official, albeit frivolous, complaint to the Attorney

  21                Grievance Commission of the State of Michigan was filed against

  22                her and another Law Center attorney, alleging use of defamatory

  23                language against homosexuals as a class of people in a federal

  24                Complaint filed in Michigan. Attached as Exhibit M is an

                                                -26-                     Case No. 2:15-cv-03048-R-FFM
                                EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 27 of 34 Page ID #:1417




   1                  excerpt from an article published about this official complaint

   2                  against Mersino. An attack on a person's livelihood has a clear

   3                  chilling effect on free speech and advocacy.

   4               g) The Law Center and I, personally, have been targeted by the

   5                  "Right Wing Watch" web site of the People for the American

   6                  Way organization. A collection of some of the headlines that

   7                  refer to the Law Center or to me in a derogatory manner, and a

   8                  sample of a full blog post, are attached hereto as Exhibit N.

   9                                      [End quotation]

  10         43.   Indeed, having studied philanthropic giving extensively and intensively

  11 for many years, I see the Law Center and its donors as presenting a paradigmatic

  12 illustration of why the ability to donate anonymously is so essential—and why
  13 donors' insistence upon their anonymity is so well justified. For the reasons I have

  14 stated, these propositions generally hold for charitable organizations and their donors

  15 around the country. Yet they hold especially true for this charitable Law Center and
  16 its donors, as compared to others, given the demonstrated and pronounced threats

  17 against them and the controversial, politically contested, high-profile, and often

  18 inflammatory nature of their association in the eyes of many.
  19         E. Registry Unable to Keep Information From Public

  20         44.   The reasonably grounded importance of maintaining anonymity extends

  21 to disclosure of a donor's name and address to the Attorney General on the Law
  22 Center's Schedule B. According to the expert report and courtroom testimony of Dr.

  23

  24

                                                  -27-                     Case No. 2:15-cv-03048-R-FFM
                                  EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 28 of 34 Page ID #:1418




   1 James McClave54 in Americans for Prosperity Foundation v. Kamala Harris, there is

    2 clear evidence that the Attorney General has not been able to guarantee either the
   3 legal or technical confidentiality of documents with donor-identifying information. In

    4 fact, the IRS instructions for 990 Schedule B caution charities not to include Schedule

    5 B with state returns precisely because states "might inadvertently make the schedule

   6 available for public inspection along with the rest of the Form 990 or 990-EZ."55

    7        45.    In his declaration, Thompson explicates the rationale for not making The

   8 Center's Schedule B available to the current Attorney General: "It is particularly

   9 disturbing because, unlike the IRS, AG Harris is not restricted by law from disclosing
  10 the Law Center's donor list to others. Although I understand that there is a 'policy' in

  11 place to not do so, policies are not irrevocable and could be changed tomorrow, or by

  12 the next Attorney General. The policy could easily be changed after the private donor

  13 information is disseminated by the Law Center and in the hands of the AG's office,
  14 thus making the private information vulnerable to exposure at the AG's whim to any

  15 third party or the public at large. Constitutional rights require far greater protection

  16 from an elected official than an 'I promise.'

  17         46.    Indeed, as I understand from Dr. McClave's expert report and court

  18 testimony, the Registry has demonstrably failed to keep donor information private in

  19 this exact same way: I understand the Americans For Prosperity Foundation has

  20 discovered that more than 1,400 Schedule Bs, complete with donor names and

  21
  22    54 [Case No. 2:14-cv-09448-R-FFM EXPERT REPORT OF DR. JAMES T. MCCLAVE Trial
     Date: February 23, 2016, Action Filed: December 9, 2014, Judge: Hon. Manuel L. Real--Signed
  23 November 25, 2015 and during the trial beginning February 23, 2016].
        55 Schedule B (Form 990, 990-EZ, or 990-PF), Schedule of Contributors, 2012.
  24

                                                    -28-                     Case No. 2:15-cv-03048-R-FFM
                                    EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 29 of 34 Page ID #:1419




   1 addresses, were publicly viewable and downloadable from the Registry's website.56
   2 Testifying on behalf of the Registry, Kevis Foley admitted that in the previous

   3 instances of the Registry's failure to keep Schedule Bs confidential, the Attorney

   4 General made no effort to notify the non-profits whose donor information was

   5 exposed.57

   6            47.    According to the Center for Responsive Politics, "For the last two years,

   7 the IRS has released a set of summary data from all annual tax returns—form 990s—

   8 filed by tax-exempt organizations during the previous year. These 'extracts' provide

   9 more extensive data than in previous years. Containing 245 fields (up from 62 in the
  10 2012 extracts) the extracts allow users to perform detailed searches of returns filed in
  11 2013 (primarily covering 2012). Thus, users looking only for the groups that reported

  12 spending to influence elections, for instance, or gave out grants to other organizations

  13 can do so. This search function created by the Center for Responsive Politics allows

  14 users to find data on specific groups, but it also has a set of pre-determined browsing
  15 capabilities for organizations with certain financial characteristics that might be of

  16 interest."58 This function has recently been curtailed for all 990s because "[t]he
  17 organization that provides them, Resource.org, has discontinued public access to

  18 protest IRS procedures for providing and cleaning the documents."59 If this browsing

  19
          56   Foley Dep. 215:19-219:10, Nov. 3, 2015; Exhibit 56: List of Schedule Bs available on
  20 Registry Website.
          57   Foley Dep. 128:13-130:1, 137:2-8; Exhibit 15: Responses and Objections of Defendant
  21 Attorney General Kamala D. Harris to Plaintiff Americans for Prosperity Foundation's First Set of
       Interrogatories at 33, Americans for Prosperity Found. v. Harris, No. 14-09448 (C.D. Cal. Dec. 9,
  22 2014).
          53   2013 IRS 990 Extracts Search, OPENSECRETS,
  23 www.opensecrets.org/outsidespending/nonprof extracts.php (last accessed Nov. 23, 2015).
          59  2013 IRS 990 Extracts Search: Americans for Prosperity, OPENSECRETS,
  24      (footnote continued)

                                                       -29-                     Case No. 2:15-cv-03048-R-FEM
                                       EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 30 of 34 Page ID #:1420




   1 capability becomes available for 990's filed with a state, then the discovery of
   2 mistakenly revealed Schedule Bs and the names of contributors would be even more

   3 readily accessible than it was to the Plaintiff's attorneys.

    4          F. Threatened Disclosure of Schedule B Donors Would Chill Donor
                  Behavior
    5
               48.    In addition to confidentiality concerns about the revelation of their names
   6
        to the public, the Law Center's donors' have a special reason to be concerned about
    7
        disclosure of their names and addresses to the State of California. In particular, they
   8
        have reason to fear that, because they give to a conservative leaning nonprofit, a
   9
        liberal leaning state administration may not protect their identities. Under all of the
  10
        circumstances, requiring the Law Center to disclose the names and addresses of its
  11
        donors—who have healthy fear of government and who have witnessed retaliation by
  12
        government officials to conservative causes—to the Registry would reasonably chill
  13
        their contributions to the Law Center and truncate their liberty.
  14
               49.    I also note that the Attorney General herself is currently running for the
  15
        Senate. If nothing else, reasonable questions loom about how a successor Attorney
  16
        General would approach Schedule Bs and any confidentiality attaching to same,
  17
        especially in the absence of any on-point provision of California law that addresses
  18
        this point and in the wake of acknowledgements by the Attorney General's own
  19
        attorneys that it depends on the exercise of discretion.
  20
               50.    It is unambiguously legitimate and reasonable for the Law Center's
  21
        donors to insist upon a clear, unequivocal assurance that their names will not be
  22

  23 https://www.opensecrets.org/outsidespending/nonprof extracts_ein.php?ein=753148958 (last
        accessed Nov. 23, 2015).
  24

                                                     -30-                     Case No. 2:15-cv-03048-R-FFM
                                     EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 31 of 34 Page ID #:1421




   1 disclosed beyond the IRS to the California Registry and to all other states. Indeed,

   2 other charities that only report donors who give 2% or more of the charity's donations
   3 and have a limited number of donors on their Schedule B submitted to the IRS, must

    4 protect those donors if they are to curtail a chilling effect on donations and

    5 participation. A fortiori, it is even more incumbent upon the Law Center, that reports

   6 on Schedule B donors who contributed $5,000 or more, to protect this longer list of

    7 vulnerable donors.

   8          51.   For these reasons, if Schedule Bs are subject to broader disclosure to

   9 California, there will be an unavoidable and widespread resulting chill that would

  10 extend even to many donors whom the Law Center is not required to list on Schedule
  11 B. More importantly still, there will predictably be resulting damage to the

  12 individuals, including harassment, loss of business revenue due to boycotts, loss of
  13 jobs, and in general a clear social and political violation of the right to privacy as a

  14 pillar of the freedom of association and free expression of religion. Such

  15 associational freedom protects individuals from what Alexis de Tocqueville
  16 documented as the potential for "the tyranny of the majority" in American

  17 democracy.6° Tocqueville confirms Thomas More Law Center's important function

  18 to protect free expression of religion, and why it needs to be protected from chilling.

  19 "For as public opinion grows to be more and more the first and most irresistible of
  20 existing powers, the religious principle has no external support strong enough to

  21 enable it long to resist its attacks." The Law Center is a religiously motivated and

  22

  23       60 ALEXIS DE TOCQUEVILLE, DEMOCRACY IN AMERICA (ASGRP e-text, 1997) (1835), available
       at http://xroads.virginia.edu/—HYPER/DETOC/toc_indx.html.
  24

                                                   -31-                     Case No. 2:15-cv-03048-R-FFM
                                   EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 32 of 34 Page ID #:1422




   1 engaged voluntary association that, as Tocqueville explains, enables religion to resist
   2 such attacks from public opinion and social policy. Regarding the legal mission of

   3 the Law Center, Tocqueville is prescient: "When the American people are intoxicatec

   4 by passion or carried away by the impetuosity of their ideas, they are checked and

   5 stopped by the almost invisible influence of their legal counselors." Disclosure of

   6 donor names to the State of California threatens donors with the very real prospect of

    7 public exposure to the majority and its tyranny, and undercuts the mission of The
   8 Thomas More Law Center, a charitable organization dedicated to resist this tyranny

   9 through legal channels.
  10

  11                                       Respectfully Submitted,
  12
  13                                        12wQ 5c142,v.:J4
  14                                            Dr. Paul G. Schervish
                                                March 30, 2016
  15
  16
       4827-8842-6287, v. 1
  17

  18

  19

  20
  21

  22

  23
  24

                                                    -32-                   Case No. 2:15-cv-03048-R-FFM
                                  EXPERT REPORT OF DR. PAUL G. SCHERVISH
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 33 of 34 Page ID #:1423




                                 PROOF OF SERVICE

                   Thomas More Law Center v. Kamala Harris
           UNITED STATES DISTRICT COURT — CENTRAL DISTRICT,
                       CASE NO. 2:15-cv-03048-R-FFM

        I am employed in the County of San Francisco, State of California. I am
  over the age of 18 and not a party to this action. My business address is 425
  California Street, Suite 2100, San Francisco, California, 94104. On the execution
  date below and in the manner stated herein, I served the following documents:


                EXPERT REPORT OF DR. PAUL G. SCHERVISH

  on all interested parties in this action by placing [ ] the original or [ ] a true copy
  of the original thereof enclosed in sealed envelopes addressed as follows:

  Kim L. Nguyen, Esq.                       Kevin A. Calia, Esq.
  Deputy Attorney General                   Deputy Attorney General
  Department of Justice                     Department of Justice
  Office of the Attorney General            Office of the Attorney General
  300 South Spring Street, Suite 1702       1300 I Street, Suite 125
  Los Angeles, CA 90013                     Sacramento, CA 95814
  kim.n_guyen@doj.ca.gov                    kevin.calia@doj.ca.gov


  [X] BY MAIL I deposited such envelope(s) with postage thereon fully prepaid in
  the United States mail at a facility regularly maintained by the United States Postal
  Service at San Francisco, California. I am readily familiar with the firm's practice
  of collecting and processing correspondence for mailing. Under the practice it
  would be deposited with the U.S. Postal Service on that same day with postage
  thereon fully prepaid at San Francisco, California in the ordinary course of
  business. I am aware that on motion of the party served, service is presumed
  invalid if postal cancellation date or postage meter date is more than one day after
  date of deposit for mailing, pursuant to this affidavit.

  [X] I declare under penalty of perjury under the laws of the State of California
  that the above is true and correct.


                                            - 1-
                                    PROOF OF SERVICE
Case 2:15-cv-03048-R-FFM Document 60 Filed 05/09/16 Page 34 of 34 Page ID #:1424




        Executed on March 30, 2016, at San Francisco, California.




                                       Alexandra Guard




                                      -2-
                                PROOF OF SERVICE
